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               IN THE UNITED STATES DISTRICT COURT IN AND FOR THE
                        NORTHERN DISTRICT OF OKLAHOMA

     ALLEN LITCHFIELD,                 )
                                       )
                  Plaintiff,           )                    Case No. 14-CV-606-JED-PJC
     v.                                )
                                       )
     TWIN CITY FIRE INSURANCE COMPANY, )
     et al.,                           )
                                       )
                  Defendants.          )

                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

            COMES NOW the Parties jointly, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), and

     hereby stipulate to the dismissal of all claims and causes of action which were or could be

     asserted in this case against each other in the above-styled and numbered case, with

     prejudice to their re-filing, each party to bear their own attorneys fees and costs.

            Dated this 21st day of January, 2015.

                                                    Respectfully submitted,

                                                    /s/Donald E. Smolen, II
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                                        Co.

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